LDUs Woaract BabwW4

Laws money WUSL-SAW
Anenocadr]. Catt ecaral Courier Des RECEIVE ey
V40O0 Epes Soke AYLANAR JAN 292020

A MONOCAAT. ALOQenr -AASO |
CLERK, U.S. MISTRicy COURY

ANCHORAGE, AK
EK Mee WEKick Cos Kee Wendel Qoes

Sota, WEA & DAOSen
AQ Xacie RSs 32\5-Cy- C0046

LLOUuNXs Waar

AK Ome Resco Mave.

“TAR NEVE AmeQcoXrrr ines
OS Se, NOR Aes \cant
Con x crore, 6x ar.

ROARS

3 NS,
G ANAM Mada BULAESS ,
e AON Gecrae_ Cateorn,

4 PIONS M. Ware

pr 7 ron L -RAEMOA,

MoXion Sac BE Soom A
EAnod\ JDOOAMBES RACINE DOK
Kea. BR. CW... 60 OSABN (4)

Reva aod aL .
Na&we Couk\e DS aceetk
Neusmarn Dovankc.c Kanoreecdk-
Beto Readoon Nomen SY Lav
Emiotcemerve. ASX. FBR
COXA ENRON VOSA

Notice SRecio\ haven Sreve.

4 7Cos\on WER Ch EON yourese.
WIETONLA P. DRODEAN Ronen.
37 Koren DS. MOT woh DWoOas YOdanrere

'S FRAP BR. BAAN wera

Violen Reddbon\e.
DeEONRO NES . Coase No -S3\B-c~7- OOANN

N\o ion Koo BeheX& Koom A Fino Tudsamere
Purauards Lda Fed. S& CB. 60 (wr (AVN (4)

AAT NOREEN ESS

ASNLE 20 W.9-C-. QDUAOSrcesr KAY 8 SDOST CE AL PROCEDURE...
VAEWSE BROCE URE - CAINS VROCESS -S LEA Seal skeske & Rtoc ess
ANTS RREGCESK WSUANA NOMA Courts HARE LAL Aokes Shall
DWE UNAS Wore Sear KH AWAE Couss’s Saned by Wre Cer Anecede.

YWrae VX

 

Case 3:18-cv-00277-RRB Document 14 Filed 01/22/20 Page 1 of 4
CXSERAL WLES OF CENTL PROCEDURE Rule Go(b QE)

Won NNoWon % GUSK Les mss Bae COLE MAY TelLene a BoA of
WS Ve Aad C4e2ceSer We STOM OSAMA DOAA MA Othe OF Praceeki ND
Tk Rae Ro lOLMnd Censors t..-

(SYScorradd (LdmeWael VSCeNWUSW Codledh WRARGIG Of ALKTAMIC)
AUST RTE SERSORONY OF NUGCOMUE BY AN ROSIN RAY 5
(A\ Rae QUAAMENs S Noied.

(-\ O46 RQN ©
NACE AM — WeneetS Dicdonosy c& Law’ AOVG
CYXRPUNAKC SfOwrck-

Cronk Rooks ANCES Ofe_ SO Mok Wesers a Case iv Coole OF
ORNS ONE cK Ye CROCK Ko We. Neora-

N\OVS_O N

ZS Lad’ SMES. Go DCARASSE AR ANS model Aa Rede de
Sae Undo Bakes (nas Nachle ML Cou oF Record, Make.
Nae KNOWN Mah uvsdel ALTeESS Aue Se Mae Cottrrreh
CosRotarke Rearney \ QalRAR. Bashive tmowina exceedyel oln
WS GRC!’ SuticdicQon, .

BT. Noon ae Coots Sol Tad & Year Nina dudamertcr

Locos OS OX ada med, SDOSed UPon “See Kelouind O¢k4 of
ERTANAAAC ROW (rok Wmied Sod 2

\. Harter & Beiserne does Nok Nowe AMadchod So Verdel others,
TODAS OF QUASARS AN RAS MOdkeO Fat Ate Rollouind Seasons?
LV GUSeAAdOR 1S leet ededbldineh Under ne audacity c&

APROACTEL oF DAR US. CanGdsrony AS Aeclaiteck on RAIE*S
OF BA AUN ee adianal CONDOR COocUMmeardS\

(\\\ Bal®a QR. Benne. 4 Roe Nscd Named AeFenckon’ in

eens

ANG Modrdier- BRal®BaR Weis Con Nok Besihe avert a
Modder i wloatin ME IS Woke As a Namek dererdoarie. Lalta
K- Reiskwre Woe NStr named Aerenckane 36 liSted aS
AUR OR RAAEY® AcKSA (A RAE OMBANAN Comins (COocUrAr EV -
A. Kh OU Atal Was Aenronderk on Boe ABA in Woe ociainal
Com®iains Croranrensrs. Boart@n &- BAanre FarselY Claims, 10
Yo 2. DOBUS OUBANER Locodec. od Radon rec BA. foods ere
Wad asad SY Dudas - CS Oa Dard face Lied W was
Revel Nod®ieth dig oo ctio’ Acdsee Vaeke 1 NO Meds cira ktial
Ory WiHESE \R wwe Case rer Lo ael Boar (Nae Woaus JUAAMeAy),
Kot (Nn Rae dora TeRas \ Not WG EL Ot Manae\ Ar toon Oa\e
CRAOAMESES YY AOR ON GURNEY Ao addkendk Wibotk eer SLAANOUS
ATLOX DY Dude oni: GaBa DS .BEIGnhat Nalsely Claims Navreneh.

Rone HR kB

Case 3:18-cv-00277-RRB Document 14 Filed 01/22/20 Page 2 of 4
J [dlWa A. DEANE &_ COMMAND EATING NTAUA » UNH YY
ANAUACARSS Me WS ROX WIESLAK WY CAST AN COUT cheBciVinaAa Mer?
Davee WOLnrOEKs, O& Bae ORRachaNha So ‘He ‘neoidh. Radar Yeas eh
S ond oSRidonds Lundes Randy & VeaHPVA |ExPlarnynda Ak Goekey
OX NON, RecVertadceA CURA NOL SORA AF ek GMa by
Na nredd AeStrdodss Cana G-EACKSON (ASX aS NAT TENO
A& AOR — VAY CHA BA A We Vial COMMA) Water Ds
NB thSad (ACL. OS Rae SOWA ASerdors),  Nefomear “P- Des bill
(NECA OS NOE BSS AeSemaNe. Bae CLAIMS GOsAMNned VA Nach Miarr\,
RAE NOXWE CouR\e ROCKER A Nesoartt\ Ba dserxeCQackAakPeck -
Beco Aon VReen BS! Lous Ensotce sven + Were LNaallY BF eSerrech
AN DocuMmenrs \-\6. Vos \ QWIAATOBRS 4 Rade A Rakaacaon* \
OX Rae OTA NAL COMR\ains

 

™& NGWorn SAE COUT. SOC Tees GRACE HAA Gudamente, Located
OS OOM MEAL. RUCSuors witty Fed seco Gin 2. 60 (84) son
NAT APOONAS Wocdks Raw GaAMeAN WG worth loecaunse VE VG Ack Lcakesly¥
Va dioattaks ot Guetkensicackea. Baus YEA Voick SoSeth UPA Yae_
Fo Wout Foes
Vo wee boas Gudamiears does Mok Conkain Sac Seal oF acd
Couts os Sevuited SY ABU-S-C- S\EAL.

A -Wr]e DWOBUS IUdames does Dok CoMech WAC Sianoduce oy
Bae Ceo as SeWurited SOY RBU-S.C.S\b4Ol

Me Aecdad® UNE Leroy HK Verdosy Nook Ane (NPT MAWOn
Conroanenk WeCEAR \S AFAR Carver Yo Mae DEX & MY Krowdtedae.

NowsCe

BrW’n A. Be@Qcdne GS OO ConsVWodror_. We useS

WS Rice Nt REERESNANOACLANY ORE NANAK TANDS Caria HUMor

Ser XtoGS CHINA. Ninlends PedaBeaay % Rake. RartOin KR.

Berne RAS HAW Seruoari VredorwMes Toorenely ank SYSkemediallY
NBS BRRTEY RON AnNoceds Wome? vmnacede CAAA An aerl Take.
Not RTS RANARRND 3B Sed SWRAWEINA Scot... Rath B. VeGuunre

\S ANiolen'’s RedoPOe Wno ads a Nitdancial (inetesr (A
YEON ® TOREANA REERNBESEAT COVACEN.

 

 
 

ASK Yourse& wor Yae Solus \elder Bree Taal, Rune
PERNA ND SE OWNS Lords REACT BcakZ

Os NY Aas a &oem A ReAe cS Ware

WAIN Vidieark RedcRare Drirad Gures

COXB. SOK KC WREAORAND DMaoQnr Teawtorwor & Laws
TACT VORESS - Yoae SAD

Case 3:18-cv-00277-RRB Document 14 Filed 01/22/20 Page 3 of 4

>
Loks Wows EKLUND #396RA4S
Anctremeae Cortecdctonal Com? \er Wess
Wood Fas 4¥a Avenue

Ancnesads ti. Masta -99S01-

 

DEXded SYokes Deancith Cout\
Yet ae Diekcich EK AMosoksa
ONNice o& ae Clem CS Corde
ARR vOess Ma Avene FA
Anchosaaer Maska- 44512-

Case 3:18-cv-00277-RRB Document 14 Filed 01/22/20 Page 4 of 4
